    Case 15-11801-ABA            Doc 57   Filed 05/26/16 Entered 05/26/16 13:39:35           Desc Main
    Form: ICB-12001-01 rev. 01
                                          Document Page 1 of 4
      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

      Caption in compliance with D.N.J. LBR 9004-2(c)

      Isabel C. Balboa                                                      Order Filed on May 26, 2016
      Chapter 13 Standing Trustee                                           by Clerk
      Cherry Tree Corporate Center                                          U.S. Bankruptcy Court
      535 Route 38, Suite 580                                               District of New Jersey
      Cherry Hill, NJ 08002-2977




      In Re:                                            Case No.:        15-11801 (ABA)

             Lance I. Stopek                            Hearing Date:    05/25/2016
             Jennifer Stopek
                                                        Judge:          Andrew B. Altenburg, Jr.
                                          Debtor(s)




                                 ORDER CONFIRMING CHAPTER 13 PLAN



    The relief set forth on the following pages, numbered two(2) through four(4) is hereby

    ORDERED.




DATED: May 26, 2016
Case 15-11801-ABA         Doc 57   Filed 05/26/16 Entered 05/26/16 13:39:35               Desc Main
                                   Document Page 2 of 4
Page 2 of 4
Debtor: Lance I. Stopek and Jennifer Stopek
Case No.: 15-11801 (ABA)
Caption of Order: ORDER CONFIRMING CHAPTER 13 PLAN



   The plan of the debtor having been proposed to the creditor, and a hearing having been held

on the Confirmation of such Plan, and it appearing that the applicable provision of the

Bankruptcy Code have been complied with; and for good cause shown, it is




ORDERED that the plan of the above named debtor, dated 02/17/2015, or the last amended plan

of the debtor be and it is hereby confirmed. The Standing Trustee shall make payments in

accordance with 11 U.S.C. § 1326 with funds received from the debtor; and it is further




ORDERED that the case is to be set up as a Tier Plan and the debtor shall pay the Standing

Trustee, Isabel C. Balboa, based upon the following schedule:




          Starting Month                 No. of Months                                Amount
             03/01/2015                       14.00                                     $0.00
             05/01/2016                   Paid to Date                              $5,000.00
             06/01/2016                        3.00                                 $1,174.00
             09/01/2016                        2.00                                     $0.00
             11/01/2016                       10.00                                 $1,174.00
             09/01/2017                        2.00                                     $0.00
             11/01/2017                       10.00                                 $1,174.00
             09/01/2018                        2.00                                     $0.00
             11/01/2018                       10.00                                 $1,174.00
             09/01/2019                        2.00                                     $0.00
             11/01/2019                        5.00                                 $1,174.00
             04/01/2020               Projected end of plan
Case 15-11801-ABA        Doc 57     Filed 05/26/16 Entered 05/26/16 13:39:35           Desc Main
                                    Document Page 3 of 4
Page 3 of 4
Debtor: Lance I. Stopek and Jennifer Stopek
Case No.: 15-11801 (ABA)
Caption of Order: ORDER CONFIRMING CHAPTER 13 PLAN



ORDERED that the debtor's attorney be and hereby is allowed a fee of $3,495.00. The unpaid

balance of the allowed fee in the amount of $2,805.00 plus costs of $43.16 shall be paid to said

attorney through the Chapter 13 plan by the Standing Trustee.




ORDERED that if the debtor should fail to make plan payments for a period of more than 30

days, the Standing Trustee may file, with the Court and served upon the Debtor and Debtor's

Counsel, a Certification of Non-Receipt of Payment and request that the debtor's case be

dismissed. The debtor shall have five days within which to file with the Court and serve upon

the Trustee a written objection to such Certification.




ORDERED that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13

Standing Trustee may submit an Amended Order Confirming Plan upon notice to the debtor(s),

debtor(s)' attorney and any other party filing a Notice of Appearance.




ORDERED that the debtor's Motion to Avoid Liens under 11 U.S.C. § 522(f) be and is hereby

granted. The following liens that impair the debtor's exemptions shall be avoided upon

completion of the debtor's plan:

   Deutsche Leasing, Protocall, Inc., Woodcrest Country Club, Joseph Mazzone & Andre

   Harrison liens to be avoided
Case 15-11801-ABA        Doc 57     Filed 05/26/16 Entered 05/26/16 13:39:35             Desc Main
                                    Document Page 4 of 4
Page 4 of 4
Debtor: Lance I. Stopek and Jennifer Stopek
Case No.: 15-11801 (ABA)
Caption of Order: ORDER CONFIRMING CHAPTER 13 PLAN



ORDERED that the debtor consents to pay secured claims as filed, with reservation of rights to

challenge the claims.




ORDERED as follows:

  pursuant to debtor's Chapter 13 Plan as last amended, the secured claim of Green Tree

  Servicing will be paid outside of the Chapter 13 Plan pursuant to a loan modification

  agreement. The Standing Trustee shall make no payments to Green Tree Servicing on

  account of pre-petition arrears set forth in the proof of claim dated April 1, 2015. total plan

  length of 60 months.
